                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

SHANNON O’NEILL                                      )
                                                     )
                      Plaintiff,                     )    Case No. 1:23-cv-00875-RGA
                                                     )
      v.                                             )
                                                     )
EMAGIN CORPORATION, ERIC                             )    JURY TRIAL DEMANDED
BRADDOM, PAUL CRONSON, ELLEN                         )
RICHSTONE, ANDREW G. SCULLEY,                        )
STEPHEN M. SEAY, and JILL J. WITTELS,                )
                                                     )
                      Defendants.                    )
                                                     )
                                                     )
                                                     )
                                                     )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: September 20, 2023                               LONG LAW, LLC

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